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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                           :
                                                    :
        v.                                          :      21-CR-175-1 (TJK)
                                                    :      21-CR-175-2 (TJK)
 ETHAN NORDEAN,                                     :
 also known as “Rufio Panman,”                      :
                                                    :
 JOSEPH BIGGS,                                      :
                                                    :
                      DEFENDANTS.                   :


 MOTION TO CONTINUE THE DEADLINE TO REPORT ON THE STATUS OF THE
      TRANSPORT OF DEFENDANTS TO THE DISTRICT OF COLUMBIA
       The United States of America, by and through the United States Attorney for the District

of Columbia, hereby moves for a continuance of two days to file its response on behalf of the

United States Marshals Service (“USMS”). Specifically, on January 21, 2022, the Court ordered

the USMS to transport defendants Nordean and Biggs to the District of Columbia (ECF 281). On

February 8, 2022, the defendants were still in their respective jurisdictions: Ethan Nordean

remained detained in Seattle, Washington, and Joseph Biggs remained detained in Seminole

County, Florida. At the status hearing on February 8, 2022, the Court ordered the government to

file a detailed response by February 9, 2022, on behalf of USMS, explaining when the Court’s

January 21, 2022, order would be complied with. Counsel for the government has worked

diligently to ascertain that information. As the Court knows, however, prisoner movement is a

complex process, and the current protocols related to COVID-19 have further complicated prisoner

movement. The government respectfully asks for a two-day extension, to Friday, February 11,

2022, to enable it to provide a fulsome response.
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       Wherefor, the government requests a two-day continuance, to February 11, 2022, to

provide the requested information to the Court concerning when defendants Biggs and Nordean

will be transported to the District of Columbia.

                                                   Respectfully submitted,

                                                   MATTHEW M. GRAVES
                                                   United States Attorney
                                                   DC Bar No. 481052


                                            By:    /s/ Jason McCullough
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                              CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that I caused a copy of this pleading to be served upon defense
counsel via the Electronic Case Filing (ECF) system, on February 9, 2022



                                        By:     /s/ Jason McCullough
                                                JASON B.A. MCCULLOUGH
